Case 3:17-cv-00072-NKM-JCH Document 1244 Filed 10/18/21 Page 1 of 2 Pageid#: 20914




                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA BLAIR, APRIL MUNIZ, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, THOMAS BAKER and JOHN
     DOE,
                                                           Civil Action No. 3: 17-cv-00072-NKM
                         Plaintiffs,
     v.

     JASON KESSLER, et al.,

                         Defendants.

                    ORDER SEALING PLAINTIFFS’ RESPONSE TO
          DEFENDANT CANTWELL’S OBJECTIONS TO PLAINTIFFS’ WITNESS LIST
                      AND SELECTED SUPPORTING EXHIBITS

            WHEREAS, on October 4, 2021, Plaintiffs filed their Response to Defendant Cantwell’s

   Objections to Plaintiffs’ Witness List (“Response”) and did not publicly file supporting Exhibits

   1, 2, 3, 4, 5, 6, 8, and 12, in accordance with Plaintiffs’ position that selected exhibits contain

   confidential information pursuant to the Order for the Production of Documents and Exchange of

   Confidential Information entered on January 3, 2018 (ECF No. 167).

            WHEREAS, Plaintiffs have provided an unredacted copy of these selected exhibits to the

   Court and moved, pursuant to Local Rule 9, for these exhibits to be sealed.

            IT IS HEREBY ORDERED that Plaintiffs’ supporting Exhibits 1, 2, 3, 4, 5, 6, 8, and 12,

   be sealed pursuant to Local Rule 9.

            Dated: October 15, 2021
Case 3:17-cv-00072-NKM-JCH Document 1244 Filed 10/18/21 Page 2 of 2 Pageid#: 20915




         SO ORDERED.

         The Clerk shall send a copy of this order to the parties and counsel of record.




                                               __________________________________
                                               Hon. Joel C. Hoppe, M.J.




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